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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MATTHEW ACKER,                                       :
                              Plaintiff,             :
                   v.                                :               CIVIL ACTION
RAY ANGELINI, INC. and                               :
AJA SKIES THE LIMIT, INC.,                           :               No. 14-0019
                         Defendants,                 :
                   v.                                :
DDM STEEL CONSTRUCTION, LLC,                         :
FRANK LUBISKY d/b/a UNION ROOFING,                   :
and UNION ROOFING CONTRACTORS,                       :
INC., d/b/a UNION ROOFING,                           :
                   Third Party Defendants.           :


McHUGH, J.                                                           SEPTEMBER 29, 2017


                                       MEMORANDUM



       This is a tort action with crossclaims in which I previously ruled that a contract for

indemnity between Ray Angelini, Inc. (RAI), and Union Roofing Contractors (Union) was

legally valid and enforceable under both Pennsylvania and New Jersey law. 2016 W.L. 4379246

(E.D. Pa. 2016). Following a settlement with Plaintiff Matthew Acker, acting in accordance with

a procedure agreed to by the parties, I held a hearing at which I determined that Plaintiff’s

injuries were not solely attributable to negligence on the part of RAI, with result that RAI was

entitled to indemnity from Union in the amount of $450,000.00 under the terms of the contract.

(Ruling issued from the bench, July 17, 2017, Document 99). The role remaining issue is

whether RAI is also entitled to counsel fees, which the parties have addressed in supplemental

submissions to the court.
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         The record is clear that RAI itself has not expended any sums in the defense of Acker’s

claim. RAI’s submission seeks reimbursement for costs and fees expended by its liability

carrier, Travelers. Union objects on that ground that Travelers is not a party to the indemnity

contract, which runs between RAI and Union. It argues that because RAI itself expended

nothing on legal fees and costs, no indemnity is owed for such items. It further points out that

Travelers in a party to a pending declaratory judgment in New Jersey, where the obligations of

the respective carriers involved in the underlying tort case are being litigated.

        RAI submits no legal authority for its position; it simply assumes that if it is entitled to

indemnity, then so too is its liability carrier. But the issue before me is strictly contractual, and

no language in the contract RAI seeks to enforce would extend to its carrier, a non-party to the

agreement. I am persuaded by Union’s argument that Travelers simply has no rights here, and

for that reason will not supplement the award announced from the bench with counsel fees or

costs, because RAI itself suffered no such losses.

        An order will be entered entering judgment in favor of RAI in the amount of

$450,000.00, and the Clerk will be instructed to mark this matter closed.




                                                              /s/ Gerald Austin McHugh
                                                        United States District Judge
